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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

IN THE MATTER OF ACOMPLAINT | Case No, 20-2541 TMD
AND ARREST WARRANT FOR JAMES. | UNDER SEAL

IAN PICCIRILLI
IN THE MATTER OF A COMPLAINT _ | Case No. __1:20-mj-2542 TMD
AND ARREST WARRANT FOR KELLIE | UNDER SEAL

NICOLE WARFIELD

 

 

 

 

 

I, David Collier, a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and

Explosives (“ATF”), being duly sworn, declare and state as follows:
INTRODUCTION

1, This affidavit is made in support of criminal complaints and arrest warrants for
JAMES IAN PICCIRILLI and KELLIE NICOLE WARFIELD for failure to surrender for
service of sentence and aiding and abetting in violation of 18 U.S.C. § 3146(a)(2) and 18 U.S.C.
§ 2, |

2. Based on the facts contained in this affidavit, there is probable cause to believe that,
on March 16, 2020, PICCIRILLI failed to surrender as required to begin serving a federal
sentence and that WARFIELD knowingly took steps to help him succeed.

AFFIANT’S BACKGROUND

3. I have served as a Special Agent with ATF since May of 2008 and am currently
assigned to the ATF Baltimore Field Division. During my tenure as an ATF Special Agent, I have
participated in numerous investigations involving firearms trafficking, illegal firearms
manufacturing, and other unlawful firearms and violent crime-related enforcement activities. |
also served as a Deputy United States Marshal (DUSM) for approximately five years prior to my

employment with ATF. During my law enforcement career, I have executed federal search,
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seizure, and arrest warrants, interviewed subjects/witnesses, tracked down and arrested fugitives,
and developed information and expertise using various investigative techniques. I attended the
Criminal Investigator Training Program (CITP), ATF Special Agent Basic Training (SABT), and
Basic Deputy United States Marshal Training Program (BDUSM) at the Federal Law Enforcement
Training Center in Glynco, Georgia.

4. Because this affidavit is being submitted for the limited purpose of establishing
probable cause for PICCIRILLI and WARFIELD’s airests, | have not included every fact known
to me about this investigation. Rather, I have set forth only those facts I believe are necessary to
support PICCIRILLI and WARFIELD’s lawful arrests The statements in this affidavit are
based on information provided to me by law enforcement officers, as well as my training,

t
experience, and knowledge of this investigation.
PROBABLE CAUSE

5. On February 7, 2019, a federal grand jury charged PICCIRILLI with possessing
machine guns in violation of 18 U.S.C. § 922(0) and possessing unregistered National Firearms
Act (“NFA”) firearms in violation of 26 U.S.C. § 5861(d). See SDT-19-060 (D. Md.).
PICCIRILLI subsequently pled guilty to a superseding information charging him with possessing
an unregistered NFA firearm. On January 14, 2020, US. Circuit Judge Stephanie D. Thacker,
sitting by designation in the District of Maryland, sentenced PICCIRILLI to 30 months’
imprisonment. Judge Thacker ordered him to remain on home monitoring by United States
Probation Office (“USPO”) until March 16, 2020, at which time he would report to a correctional

facility to be determined by the United States Bureau Lf Prisons (“BOP”). PICCIRILLI never

reported.
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6. Rather, on January 24, 2020, PICCIRILLI absconded from the USPO’s
supervision. Three days later, Judge Thacker issued a warrant for PICCIRILLI’s arrest. To my
knowledge, as of the date of the signing of this affidavit, PICCIRILLI has not reported to the
BOP as required. A check of the BOP website shows that PICCIRILLI is still “not in BOP
custody.”

7. Investigators believe that WARFIELD helped PICCIRILLI flee. In December
2018, WARFIELD told investigators that she was PICCIRILLI’s girlfriend and that she lived
with him. WARFIELD was at PICCIRILLI’s sentencing hearing and was aware that the judge
imposed a sentence and surrender date. Before PICCIRILLI absconded, both he and
WARFIELD had cellphone numbers that investigators confirmed through multiple sources of
information, including prior employers, family members, and the USPO. Electronic records from
the service providers associated with those numbers show that both numbers were deactivated as
of February 1, 2020. Since February 2020, investigators have interviewed numerous members of
PICCIRILLI and WARFIELD’s family and friends, none of whom have reported seeing
PICCIRILLI or WARFIELD since January 2020.

8. The evidence gathered since further supports that PICCIRILLI and WARFIELD
fled together and that WARFIELD aided the flight, knowing that PICCIRILLI was escaping his

upcoming term of imprisonment. Through interviews with people who know PICCIRILLI and

WARFIELD, investigators discovered that WARFIELD uses’ the account

Po to play Words with Friends.'! On August 14, 2020, U.S. Magistrate Judge

 

’ Words with Friends is a multiplayer word game available for cellphones and tablets, among other
devices. To play, users create an account and choose opponents by identifying the account ID of
the specific person who they want to play against. In addition, there is a chat feature built into the
game that allows opponents to exchange messages.
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Thomas M. DiGirolamo authorized investigators to search the content of chat messages within the
account. In the messages, WARFIELD reveals that she supports that PICCIRILLI fled. For

-example, on April 2, 2020, WARFIELD has the following exchange with another account:

WARFIELD: J is napping but will be excited we got thru to yall

WARFIELD: Sleep schedules have been much better than last year for
him...

Account 1: I’m think right decision we’re made

WARFIELD: No doubt. It was a tough one, but necessary. Just missing

everyone sucks a whole lot. But pups have helped

Investigators believe that “J” refers to PICCIRILLI. Based on my training and experience, |
believe that PICCIRILLI and WARFIELD were together during that exchange, and that
WAREFIELD believed that PICCIRILLI was sleeping better at the time (having fled) than he was
the year before (while his federal criminal case was pending). The user of Account 1 told
WARFIELD that she and PICCIRILLI made the right decision to flee prosecution.
WARFIELD agreed but admitted that she missed her friends and family. |

9. Throughout the messages, the parties make numerous references to the fact that
they were trying to evade law enforcement efforts to surveil them. For example, on April 11, 2020,

WARFIELD and Account 1 exchange the following messages:

WARFIELD: We are out of funds ... so that’s fun...

Account 1: Oh gosh I’m sorry ©

WARFIELD: Yeah, tough times .. . but we will figure something out,
hopefully.

Account 1: Can s, k, or g help?

WARFIELD: oe afraid to reach out to them via phone. Don’t know if
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Investigators believe that “s, k, or g” refer to PICCIRILLI’s parents and grandmother
I |? 250: 05 29 v2iving nd
experience, I believe that WARFIELD and the user of Account 1 are using first initials rather than
full names to avoid detection by law enforcement. I also believe that WARFIELD is explaining
that she is afraid to call PECCIRILLI’s parents and grandmother because law enforcement may
be listening to their calls.

10. Finally, WARFIELD’s messages suggest that she made a mutual decision with
PICCIRILLI to flee prosecution. For example, on April 13, 2020, the user of Account 1 wrote
that her husband had “used flashlight under booths for microphones” when getting lunch with
PICCIRILLI’s father (suggesting that her husband was worried about law enforcement
surveillance). WARFIELD responded that she “still cant betieve it all turned out the way it did,”
but that “we made the best decision.” Given the context, investigators believe that WARFIELD
was referring to the decision to flee, and by using “we,” WARFIELD communicated that she and
PICCIRILLI made the decision to flee together.

11. The subpoena and search warrant results for the Words with Friends account

——— a: :

location in or near Deputy, Indiana, and was created on March 27, 2020. The returns also indicate

that WARFIELD last used her previous email address ee) for

Words with Friends in August 2019. \

21 have learned about PICCIRILLI’s family members through interviews with multiple prior
business associates
a. Thes e associates had direct, regular contact with PICCIRILLI ’s parents

 

   
   

 
 
 

  

In ad dition,
PICCIRILLI’s mother and grandmother spoke at his sentencing hearing, which I attended.
Finally, I spoke directly to PICCIRILLI’s sister and brother-in-law during December 2018 at
their home where PICCIRILLI was living with WARFIELD.

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12. ‘I searched the internet for any indication of Po on other
websites or platforms, which revealed i _ account on Pinterest, an image

sharing and social media service where users can “pin” pictures and other electronic content to
their profile. Pinterest groups pictures into “boards” attached to each profile. Boards for
P include topics such as “off-grid homesteading” and “boondocking”
(camping at free locations with a car or RV, sometimes where there are limited water and electrical
facilities). Based on my training and experience, I believe these topics are consistent with a person
who is researching how to live an isolated, low-profile lifestyle to avoid detection by law
enforcement. On August 12, 2020, Pinterest responded to a federal grand jury subpoena, and its
records indicated that “Emma” created Po on February 20, 2020, after
PICCIRILLI absconded.

13. On September 9, 2020, investigators obtained a federal search warrant for the
contents of the Gmail account associated with Po The account
contents suggest that WARFIELD uses it. The account received emails either addressed to or
referencing WARFIELD’s real name at least ten times between February 2020 and July 2020.
WARFIELD also received several emails addressed to the alias “Emma Smith,” including an
email from “Emma Smith” to WARFIELD’s sister on August 23, 2020, in which WARFIELD

t
wrote “Its me!” and “I miss you sooooco much.” Lastly, in August 2020 and September 2020,
WARFIELD received emails from Straight Talk Wireless, a no-contract wireless provider,

identifying her new phone number and revealing that she had signed up for a 30-day wireless

service. Based on my training and experience, I know that people who engage in criminalactivity

 

> WARFLIELD’s mother confirmed to investigators the identity of WARFIELD’s sister.
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often use fictitious names, use different names, or frequently change their phone numbers to avoid
detection by law enforcement.

14. To my knowledge, WARFIELD is not otherwise under criminal investigation and
has no readily discernable reason to use coded language; to research off-the-grid living
arrangements; to use an alias name; to use an alias email address; to abandon an old phone number;
or to use a new, no-contract, short term phone number absent her proximity to PICCIRILLI and
her desire to protect him from serving his sentence by concealing her own identity and
whereabouts.

CONCLUSION

15. Asa result of the information above, there is probable cause to believe that, since
March 16, 2020, PICCIRILLI has failed to surrender to serve his federal sentence and that
WARFIELD is aiding and abetting that effort, in violation of 18 U.S.C. § 3146(a)(2) and
18 U.S.C. § 2.

WHEREFORE, I respectfully request that the Court authorize the attached criminal
complaints and issue the arrest warrants.

Under penalty of perjury, I swear that the foregoing is true and correct to the best of my

A ill

Special Agent David Collier
Bureau of Alcohol, Tobacco, Firearms, and
Explosives

knowledge, information, and belief.
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Affidavit submitted by email and attested to me as true and accurate by telephone

ot Lebler | 2020.

e Honorable Thomas M. DiGirclamo
United States Magistrate Judge

  
 
 

consistent with Fed. R. Crim. P. 4.1 and 41(d) this

   

 

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———— LOGGED. RECEIVED

NOW.1 3 2020

AT BALTIMORE
| CLERK, U.S. DISTRICT COURT
DISTRICT OF MARYLAND
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